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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                             UNITED STATES DISTRICT COURT                                September 27, 2022
                              SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


UNITED STATES OF AMERICA                           §
                                                   § CRIMINAL ACTION NO. 4:15-CR-
VS.                                                § 00210-002
                                                   §
SYED RIZWAN MOHIUDDIN                              §


                                EXCLUDABLE DELAY ORDER


       As to Defendant SYED RIZWAN MOHIUDDIN, It is ORDERED that a period of
excludable delay shall commence on October 17, 2022 pursuant to Title 18 U.S.C. §3161(h)(7)(A)
and (B), Category T of the Speedy Trial Act Amendments of 2008.

       In accordance with Title 18 U.S.C. §3161(h)(8)(A), the basis for continuance is the finding
that the ends of justice served by taking this action outweigh the best interest of the public, as well
as the Defendant, to a speedy trial, and is contained in a written motion filed by Defendant. It is,
therefore, ORDERED that the unopposed motion for continuance is GRANTED.

               The Court finds that pursuant to Title 18 U.S.C. §3161(h)(8)(B):

               [X]        Failure to grant a continuance would stop further proceedings or result
                          in the miscarriage of justice.


               [X ]       Case unusual or complex, and as stated in open court on 10/31/2018


               [ ]        Continuance is granted in order to obtain or substitute counsel, or to
                          allow reasonable time for trial preparation.


The period of excludable delay shall end at commencement of trial or disposition of charges.

1. MOTIONS will be filed by                            March 22, 2023

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2. RESPONSES will be filed by                   March 29, 2023


3. PRETRIAL CONFERENCE is set for               April 12, 2023 at 10:30 a.m.
  (515 Rusk, Courtroom 3A, 3rd Floor Houston, Texas)
  DEFENDANT MUST BE PRESENT


4. JURY selection and TRIAL set for             April 17, 2023 at 9:00 a.m.
       Signed at Houston, Texas on September 26, 2022.


                                                 _______________________________
                                                 Keith P. Ellison
                                                 United States District Judge




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